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 Joshua M. Smith, Esq.                                                         Phone: (513) 533-6715
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                                          January 30, 2024

 VIA ELECTRONIC MAIL
 Christoper A. Bloom (Christopher.Bloom@klgates.com)
 K&L Gates LLP
 70 W. Madison St., Suite 3100
 Chicago, IL 60602

                Re:       Philip McHugh v. Fifth Third Bancorp, et al.
                          Compliance with Subpoenas

Mr. Bloom:

        We are following up on the subpoenas directed to your client RHR International LLP
(“RHR”). At this stage, given the complete lack of cooperation, we will be proceeding forward
with Court enforcement. We obviously disagree with your objections regarding the 100-mile
limitation, which we have previously made known to you. Moreover, your assertion of a therapist-
patient privilege to an executive assessment for employment is simply non-sensical—neither RHR
nor its employees provided psychological treatment to any Fifth Third employees. See Jaffee v.
Redmond, 518 U.S. 1, 15 (1996) (“[W]e hold that confidential communications between a licensed
psychotherapist and her patients in the course of diagnosis or treatment are protected from
compelled disclosure[.]”). Moreover, the privilege does not apply where such evaluations or
assessments are being directly reported to an employer. See Kamper v. Gray, 182 F.R.D. 597, 599
(E.D. Mo. 1998)(“Since he was aware that his evaluations would be reported to his employer, Gray
had no reasonable expectation of confidentiality regarding his communications with Colarelli,
Meyer, and Associates.”); Phelps v. Coy, 194 F.R.D. 606 (S.D. Ohio 2000)(holding that
psychiatrist/patient privilege did not protect information learned by a psychologist where she
evaluated the officer at the behest of his municipal employer and disclosed the information to the
employer).

        If you would like to discuss compliance with the subpoenas, please let us know no later
than close of business this Thursday, February 1, 2024. Assuming not, we will proceed forward
with Court enforcement. Thank you.




                                                                                        Exhibit 6
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                                        Sincerely,

                                        STAGNARO, SABA
                                        & PATTERSON CO., L.P.A.



                                        Joshua M. Smith, Esq.
